                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CIVIL ACTION NO. 5:24-cv-00028-KDB-SCR


 FEDERAL TRADE COMMISSION,

                                  Plaintiff,

 v.

 NOVANT HEALTH, INC.

 and

 COMMUNITY HEALTH SYSTEMS, INC.,

                                  Defendants.


                            PLAINTIFF’S NOTICE OF APPEAL

        Notice is hereby given that Plaintiff Federal Trade Commission (“FTC”) appeals to the

United States Court of Appeals for the Fourth Circuit from this Court’s Order dated June 5,

2024, and entered on the Court’s docket at ECF No. 227, denying the FTC’s request for a

preliminary injunction pursuant to Federal Trade Commission Act § 13(b), 15 U.S.C. § 53(b).




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Dated:          June 9, 2024          Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served upon the
following counsel on June 9, 2024, by email and/or CM-ECF:

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